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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

  In re:                                             Chapter 7
  MAD CATZ, INC.                                     Case No. 17-10679 (LSS)
                          Debtor.                    Related Docket No. 245


             RESPONSE OF JOINT AND SEVERAL LIQUIDATORS OF
            MAD CATZ INTERACTIVE ASIA LIMITED (IN CREDITORS’
       VOLUNTARY LIQUIDATION) TO CHAPTER 7 TRUSTEE’S OBJECTION
        PURSUANT TO 11 U.S.C. § 502(B) AND FED R. BANKR. P. 3007 TO THE
         PROOF OF CLAIM FILED BY MAD CATZ INTERACTIVE ASIA LTD.

               The Joint and Several Liquidators (the “Liquidators”) of Mad Catz Interactive

Asia Limited (In Creditors’ Voluntary Liquidation) (“MCIA”) hereby files this response (the

“Response”) to the Chapter 7 Trustee’s Objection Pursuant to 11 U.S.C. § 502(b) and Fed. R.

Banker. P. 3007 to the Proof of Claim Filed by Mad Catz Interactive Asia Ltd. [Docket No. 245]

(the “Objection”). In support of this Response, MCIA relies on the declaration of the one of the

Liquidators, Mr. Choon Onn Chin (the “Chin Declaration”) filed in connection therewith, and

avers as follows:

                                PRELIMINARY STATEMENT

               1.     The Liquidators of MCIA, as fiduciaries to the creditors of MCIA, file this

response in support of its proof of claim filed in the instant case. The claim arises from amounts

owing under a certain Sourcing Service Agreement entered into in 2008 which governs the

treatment of pricing adjustments for goods sold by MCIA to Mad Catz Inc. – the debtor in the

instant Chapter 7 case.

               2.     By the Objection, the Trustee attempts to obviate substantially all of

MCIA’s approximate $15 million claim against the Debtor. As a basis for its Objection, the


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Trustee relies on a report issued by KPMG in March of 2015 regarding transfer pricing adjustments

which KPMG prepared for the Debtor’s sole benefit, and, although not mentioned in its Objection,

a sourcing agreement allegedly entered into between MCIA and the Debtor in December of 2015.

Interestingly, that 2015 Sourcing Agreement (as defined below) was not disclosed until long after

the Trustee’s filing of the Objection. Perhaps the reason for failing to include the 2015 Sourcing

Agreement in his Objection has to do with the fact that such agreement is simply not valid as it

violates applicable Hong Kong tax law.

               3.      The Objection further claims that MCIA’s Claim should not be allowed

because MCIA allegedly failed to submit adequate evidence to support it. However, MCIA has

submitted additional evidence to the Trustee and with this Response is providing further

explanation and documentation to substantiate its Claim and accordingly, respectfully requests that

the Court allow MCIA’s Claim in the filed amount.


                                 RELEVANT BACKGROUND

               4.      On March 30, 2017 (the “Petition Date”), Mad Catz, Inc. (“MCI” or the

“Debtor”) filed a voluntary petition for relief under Chapter 7 of the Bankruptcy Code in the United

States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), Case No. 17-

10679-KG (the “Bankruptcy Case”).

               5.      David W. Carickhoff was appointed as the Chapter 7 Trustee (the

“Trustee”).

               6.      The Debtor was a wholly owned subsidiary of Mad Catz Interactive Inc., a

Canadian company (“MCII”). MCII owned 99% of the equity in MCIA. The Debtor owned 1%

of the equity of MCIA.

               7.      Prior to filing Chapter 7, the Debtor was a global provider of interactive

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entertainment products, primarily in the gaming industry. The Debtor’s products were catered to

gamers across multiple platforms including in-home gaming consoles, handheld gamming

consoles, computers, smart phones, tablets, and other smart devices.

               8.     MCIA was engaged in the engineering, design, manufacture (through

contract manufacturers), regional sales of video games and personal computer accessories. MCIA

owned product related intellectual property for the Debtor.

       A.      The 2008 Sourcing Agreement

               9.     MCIA and the Debtor were parties to that certain Sourcing Service

Agreement, dated October 1, 2008 (the “2008 Sourcing Agreement”). A copy of the 2008

Sourcing Agreement is annexed hereto as Exhibit “A.” The agreement was executed by Whitney

Peterson, the then director of MCIA, on behalf of MCIA, and Stewart Halpern, the Debtor’s Chief

Financial Officer, on behalf of the Debtor.

               10.    Pursuant to the 2008 Sourcing Agreement, MCIA was acting as the sourcing

office of the Mad Catz Group. In that role, MCIA, after receiving purchase orders mostly from the

Debtor, requested from suppliers in China to produce these goods on credit terms. The finished

goods were shipped to the Debtor to then be sold to the Debtor’s customers from whom the Debtor

received payments.

               11.    As set forth in § 2 of the 2008 Sourcing Agreement, the Debtor was to pay

MCIA the “Product Price.” According to the 2008 Sourcing Agreement, the “Product Prices shall

be determined by multiplying (i) the price MCIA pays the factory for the Product by thirty (30)

percent then (ii) adding that number to the price MCIA pays the factory for the Product.”

Appendix A to 2008 Sourcing Agreement.




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       B.      The KPMG Report

               12.     Upon information and belief, in or around March of 2015, the Debtor

commissioned KPMG to assist the Debtor and its affiliates in complying with regulations under

Section 482 of the United States Internal Revenue Code and the Organization for Economic

Cooperation and Development (“OECD”) Transfer Pricing Guidelines for Multinational

Enterprises and Tax Administration. See KPMG Report (as hereinafter defined) § 1.2.1. As

discussed more fully below, both Internal Revenue Code (“IRC”) § 482 and the OECD Guidelines

provide that transfer prices within a controlled group be consistent with the results of transactions

between unaffiliated parties in an arm’s-length transaction.

               13.     In connection with these Guidelines, upon information and belief, KPMG

was retained by the Debtor to undertake a transfer pricing planning study for the taxable year

ending 2015. The results of that study culminated in the work product titled “Transfer Pricing

Planning Study for the Taxable year ending March 31, 2015” dated March 25, 2015 (the “KPMG

Report”). A copy of the KPMG Report is annexed hereto as Exhibit “B.”

               14.     The KPMG Report, among other things, considered the following

transactions between the Debtor and MCIA: (i) purchase of product by the Debtor from MCIA for

distribution in the United States; (ii) purchase of product by the Debtor from MCIA for resale to

Mad Catz Canada (“MCC”) for distribution in Canada; (iii) provision of marketing services from

the Debtor to MCIA; (iv) provision of management services from the Debtor to MCIA, and (iv)

trademark licensing from the Debtor to MCIA. See KPMG Report § 1.1.

               15.     With respect to the purchase of product by the Debtor from MCIA both for

distribution in the United Sates and resale to MCC, KPMG states that it compared the 2011 – 2013

three-year weighted average of operating margins for distributors in North America similar to the


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Debtor and determined that the interquartile range of operating margins was from 1.3% to 5.9%

with a median of 3.3%. See id. at §§ 7.1 and 7.2. KPMG ultimately recommended that the

Debtor’s operating margin fall within this range. See id.1

                16.     KPMG apparently made similar comparisons for the three other

transactions involving the Debtor and MCIA, determined interquartile ranges of other similar

market players for each transaction, and recommended that the Debtor’s compensation fall within

the interquartile ranges of these market players. See id. at §§ 7.3, 7.4 and 7.5.

                17.     Importantly, however, the KPMG Report did not compare the operating

margins/compensation of businesses similar to MCIA to determine the interquartile range for any

of the transactions between the Debtor and MCIA or make any recommendation regarding the

operating margins/compensation of MCIA.

        C.       The 2015 Sourcing Agreement

                18.     MCIA and the Debtor were purportedly parties to that certain Intercompany

Sourcing Service Agreement, dated December 15, 2015 (the “2015 Sourcing Agreement”). A

copy of the 2015 Sourcing Agreement is annexed hereto as Exhibit “C.” The 2015 Sourcing

Agreement was executed by Darren Richardson, the then President and CEO of the Debtor, on

behalf of the Debtor, and again by that same person (Darren Richardson), the then director of

MCIA, on behalf of MCIA. Despite being signed in December of 2015, the effective date of this

agreement is stated as April 1, 2014 – which is approximately one full year prior to not only the

issuance of the KMPG Report but also nearly one and a half years prior to the actual signing of

the 2015 Sourcing Agreement.



1 In the Objection, the Trustee asserts that the Debtor’s operating margins for the period 2013 – 2017 based
on the Debtor’s books and records were: -20.56% (2013); -22.09% (-20.14); -11.38 (2015); -2.21 (2016);
and 0.65% (2017). See Objection at ¶ 24.
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               19.        Upon information and belief, the 2015 Sourcing Agreement was entered

into based on the recommendations of the KPMG Report. As noted above, such report however

only considered the Debtor and did not take into account implications to MCIA.

               20.        Pursuant to the 2015 Sourcing Agreement, MCIA agreed to provide the

same services for the Debtor as in the 2008 Sourcing Agreement. See 2015 Sourcing Agreement

§ 3.1. Similarly, as in the 2008 Sourcing Agreement, the Debtor agreed to pay MCIA the “Product

Price.” See id. at § 2.

               21.        Where the 2015 Sourcing Agreement differs from the 2008 Sourcing

Agreement is in the definition of “Product Price.”        Indeed, the 2015 Sourcing Agreement

materially altered the definition of “Product Price” as follows:

               [t]he term ‘Product Price’ means the price MCIA charges for the Product
               calculated by multiplying (i) the price MCIA pays the factory for the
               Product by thirty (30) percent then (ii) adding that that number to the price
               MCIA pays the factory for the Product. [….]. The Product Price is subject
               to quarterly transfer pricing adjustments in order to bring the operating
               profit of MCI [the Debtor] equal to 4% of Net Sales, based upon U.S.
               GAAP, made by MCI [the Debtor] to third parties.”

Id. at § 1.3. (Emphasis added).

       D.      MCIA Financial Reporting

               22.        Pursuant to the 2008 Sourcing Agreement, MCIA sold goods to the Debtor

at a rate of cost + 30%. It appears that the Debtor generally complied with that formula for the

fiscal years ending March 31st of 2011 through 2014. Indeed, MCIA’s audited financial statements

reflect a cost mark-up percentage of 36% for 2011, 29% for 2012, 33% for 2013, and 25% for

2014. The numbers are broken down in the following chart.




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               23.    For the fiscal years ending March 31st of 2015 through 2017 (up to February

2017), MCIA reported the mark-up as follows: 14% for 2015, 4% for 2016, and negative 22% for

2017 (though February 2017).

               24.    Additionally, as evidenced in the above chart MCIA’s gross profits for the

fiscal years ending March 31, 2013 through March 31, 2015 were HKD$146,986,692 (2013);

HKD$83,729,473 (2014); and HKD$58,638,165 (2014).

               25.    Gross profits fell to HKD$26,568,660 for the fiscal year ending March 31,

2016. If including operating expenses, MCIA recorded a net loss of HKD$112 Million for FY

2016. MCIA’s gross profits substantially declined to negative HKD$72,624,933 for the period

from April 1, 2016 through February 28, 2017.

               26.    Indeed, MCIA’s revenue for FY 2017 was HKD$251 million. HKD$151

million of that amount (before making the transfer pricing adjustment) was the sales to the Debtor.

The cost of the goods sold to the Debtor during that period was HKD$116 million. Application of

the transfer pricing adjustment further reduced that revenue by HKD$95 million. This resulted in

a gross loss on product sold to the Debtor in FY 2017 of HKD$60 million (HKD$ 151 million

minus HKD$116 million minus HKD$95 million). Which means MCIA was making a HKD$0.4

loss for every HKD$1 sale to the Debtor.



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               E.      The Debtor Public Disclosures

               27.     On June 25, 2105, the Debtor filed its 10-K Annual Report (the “10-K”)

with the Securities and Exchange Commission for the period of April 1, 2014 through March 31,

2015. See Audit Report annexed hereto as Exhibit “D.”

               28.     It is telling that the 2015 Sourcing Agreement was entered into

approximately six months after the filing of the 10-K, particularly since the 2015 Sourcing

Agreement was made effective April 1, 2014 – 18 months before the signing of such agreement.

               29.     Indeed, a valid question exists as to why the Debtor waited 9 months after

the issuance of the KPMG Report and 6 months after the filing of the 10-K to execute the 2015

Sourcing Agreement – particularly since the Debtor was seeking to have the agreement’s effective

date be 18 months before the actual signing of the 2015 Sourcing Agreement.

       F.      MCIA Liquidation

               30.     On March 30, 2017, the same day as the Debtor’s Petition Date, MCIA as

an affiliate of the Debtor and incorporated in Hong Kong, passed a certain shareholders resolution

authorizing that MCIA be voluntarily wound up pursuant to Companies (Winding Up and

Miscellaneous Provisions) Ordinance Cap 32 in Hong Kong (the “Hong Kong Filing”).

               31.     In connection with the Hong Kong Filing, Mr. Yat Kit Jong and Mr. Choon

Onn Chin of PricewaterhouseCoopers Hong Kong were appointed as the joint and several

liquidators of MCIA.

       G.      MCIA Proof of Claim and Chapter 7
               Trustee’s Objection Thereto

               32.     On August 15, 2017, the Liquidators filed Proof of Claim No. 43 (the

“Claim”) on behalf of MCIA in the Bankruptcy Case in the amount of $15,150,639.81 (the



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“Amount”), noting on the Official Form 410 “for goods sold” and attaching Account Statements

and Credit Notes for further support of its Claim.

               33.     On October 23, 2019, the Trustee filed the Objection, claiming that the

Claim lacks sufficient detail and is inconsistent with MCIA’s own Books and Records. See

Objection, pp. 3 – 4. For this allegation, the Objection references a letter dated July 19, 2017 by

the Liquidators to the Trustee and quotes one sentence: “MCIA’s own books and records reflected

a balance due from the Debtor to MCIA in the amount of $698,959.75 as of March 30, 2017.” See

Objection, p. 5, ¶ 18, and claiming in the next paragraph that the Liquidators “apparently disagree

with that amount” as the letter continues to clearly explain: “A statement of account was derived

after certain transfer-pricing adjustments between MCI [the Debtor] and [MCIA] and the actual

debt amount should be higher. We are of the view that these adjustments are not appropriate

therefore the amount of the Debt should be further revised upwards.” See Objection, p. 5, ¶ 19.

               34.     The Objection further alleges that the Claim is inconsistent with the 2008

Sourcing Agreement as well as the KPMG Report. See Objection, p. 6, ¶ 22.

               35.     Since the Objection states that the Claim failed to explain and provide

evidence for the Amount claimed by MCIA, on December 19, 2019, the Liquidators’ attorney

reached out to the Trustee’s attorney to provide further explanation and clarification of the Claim.

Specifically, the Liquidators explained, inter alia, that the Amount rests on the fact that the Debtor

misapplied certain transfer-pricing adjustments contrary to the 2008 Sourcing Agreement.

               36.     Importantly, nowhere in the Objection does the Trustee discuss or even

reference the 2015 Sourcing Agreement. Indeed, it was only during discussions between counsel

that the existence of the 2015 Sourcing Agreement was mentioned and shared.




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       H.      MCIA Had Similar Claims Against Mad
               Catz Europe Which Were Allowed

               37.    Similar to the claims that the Liquidators of MCIA has against the Debtor,

the Liquidators also had claims against Mad Catz Europe (“MCE”) in its liquidation proceeding

in UK. Similar to here, those claims arose from disputes over the transfer pricing adjustments

applied. Upon several discussions and clarifications on the disputes, the liquidator of MCE

recognizing the validity of the MCIA Liquidator’s arguments – which are similar to here –

allowed the claim in the requested amount.

                                          RESPONSE

A.     MCIA is Owed the Claim Amount
       Pursuant to the 2008 Sourcing Agreement

               38.    Pursuant to the 2008 Sourcing Agreement, MCIA sourced product for the

Debtor. MCIA located and contracted with manufacturers and suppliers capable of manufacturing

and delivering the Debtor’s products and oversee the manufacture and delivery of the product. See

2008 Sourcing Agreement § 3.1. The Debtor agreed to pay MCIA the Product Price. See 2008

Sourcing Agreement § 2. Appendix A to the 2008 Sourcing Agreement provides in pertinent part

that “‘Product Price’ shall be determined by multiplying (i) the price MCIA pays the factory for

the Product by thirty (30) percent then (ii) adding that number to the price MCIA pays the factory

for the Product. …” 2008 Sourcing Agreement Appendix A.

               39.    In other words, according to the 2008 Sourcing Agreement, and confirmed

by the Objection, the Debtor obtained these goods from MCIA at a cost of MCIA’s costs + 30%.

Moreover, Trustee confirms in the Objection, that “no other adjustments, including any transfer

pricing adjustments for tax purposes, are contemplated by the Sourcing Agreement.” See

Objection at ¶ 20.


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               40.    Despite the express mandate of the 2008 Sourcing Agreement, the Debtor

did in fact apply transfer pricing adjustments by reducing its book value of intercompany

receivables due to MCIA and thereby ignoring the outstanding trade payable for which MCIA was

responsible to the suppliers, but which had to be paid by the Debtor to MCIA plus 30% pursuant

to the 2008 Sourcing Agreement.

               41.    Evidenced by the chart set forth above, for the years of 2015 through 2017,

the Debtor failed to pay in accordance with the 2008 Sourcing Agreement. Indeed, as the chart

indicates, for 2015 MCIA received cost plus 14%, for 2016 MCIA received cost plus 4%, for 2017

MCIA’s receipt was negative 22%. These payments were completely contrary to the express terms

set forth in the 2008 Sourcing Agreement which required cost plus 30%. It was also this correct

calculation that MCIA applied in calculating the Amount owed to it by the Debtor in its Claim.

               42.    Accordingly, MCIA submits that its Claim Amount was accurately

calculated, and respectfully requests that the Court overrule the Trustee’s Objection and approve

MCIA’s Claim in its entirety.

B.     The 2015 Sourcing Agreement Violates Hong Kong
       Tax Regulations and Should Be Disregarded

               43.    MCIA is a company incorporated in Hong Kong and it is obligated to follow

the Hong Kong Inland Revenue Department – Hong Kong Transfer Pricing Guidelines. Similar

to other jurisdictions, including the United States, Hong Kong tax rules requires a corporation to

adopt the arm’s length principles when it transacts with associate parties in different tax

jurisdictions. Indeed, the guidelines provide as follows:

               The arm’s length principle uses the transactions of independent enterprises
               as a benchmark to determine how profits and expenses should be allocated
               for the transactions between associated enterprises. It compares what an
               enterprise has transacted with its associated enterprise with what a truly
               independent enterprise would have done in the same or similar
               circumstances.
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Hong Kong Transfer Pricing Guidelines ¶ 4, p. 1.

                    44.   Additionally, the Hong Kong Transfer Pricing Guidelines provide that:

                    The arm’s length principle which is endorsed by the Organization for
                    Economic Co-Operation and Development is embodied in the Associated
                    Enterprises Article or Article 9 of the OECD Model Tax Convention on
                    Income and on Capital.

Id. at ¶ 6, p. 2.

                    45.   Both Hong Kong and the United States are members of the OECD and share

similar standards on transfer pricing and arm’s length transactions and principles. Indeed, pursuant

to IRC § 482, the standard applied in determining the true taxable income of a controlled taxpayer

is that of a taxpayer dealing at arm’s length with an uncontrolled taxpayer. That is, the results of

a controlled transaction must be consistent with the results “that would have been realized if

uncontrolled taxpayers had engaged in the same transaction under the same circumstances.” Id.

                    46.   Considering the financial results of fiscal years 2016 and 2017, there is

simply no way that a company outside of the Debtor’s control group would have entered into the

2015 Sourcing Agreement with the pricing adjustments set forth therein. As noted above, applying

the adjustments set forth in this agreement resulted in a substantial loss for MCIA.

                    47.   Indeed, MCIA’s revenue for FY 2017 was HKD$251 million. HKD$151

million of that amount (before making the transfer pricing adjustment) was from sales to the

Debtor.      The cost of the goods sold to the Debtor during that period was HKD$116 million.

Application of the transfer pricing adjustment further reduced that revenue by HKD$95 million.

This resulted in a gross loss on product sold to the Debtor in FY 2017 of HKD$60 million. Which

means MCIA was making a HKD$0.4 loss for every HKD$1 sale to the Debtor.




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               48.     No company would engage in transaction that would result in an HKD$60

million loss. Nor could anyone argue that such a transaction would be “arm’s length.” That would

be preposterous.

               49.     Simply put, the transfer pricing adjustments were in violation of Hong Kong

tax regulations and should not be permitted here. See, e.g., Asdourian v. Araj, 38 Cal.3d 276, 291

(1985) (noting that “[g]enerally a contract made in violation of a regulatory statute is void.

Normally, courts will not ‘lend their aid to the enforcement of an illegal agreement or one against

public policy.’ This rule is based on the rationale that ‘the public importance of discouraging such

prohibited transactions outweighs equitable considerations of possible injustice between the

parties.’”) (internal quotations and citations omitted).

C.     The KPMG did not Consider MCIA Tax
       Implications and Should be Disregarded

               50.     In support of its Objection, the Trustee asserts that MCIA’s calculation of

the claim is incorrect because it is inconsistent with the KPMG Report. That argument, however,

lacks merit. Indeed, as noted above, the KPMG Report appears to have been prepared solely for

the benefit of the Debtor. Indeed, by the report, KPMG makes recommendations regarding what

the Debtor’s operating margins should be but does not consider MCIA’s operating margins. Nor

does the Report consider the implications of Hong Kong tax law on the proposed pricing

adjustments. Indeed, as noted above, the pricing adjustments recommended by KPMG in its

Report and the pricing adjustments set forth in the 2015 Sourcing Agreement conflict with and

violate applicable Hong Kong tax regulations.

               51.     At bottom, because the KPMG Report is a one-sided document, prepared

solely for the benefit of the Debtor, it should be considered by this Court as such – namely, a



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flawed document which was commissioned by the Debtor to receive the best financial and tax

advantages at the expense and tax liability of MCIA.

D.     Darren Richardson Lacked Authority to
       Bind MCIA to the 2015 Sourcing Agreement

              52.     The validity of the 2015 Sourcing Agreement is highly suspect as it was

signed on behalf of MCIA as well as the Debtor by the same person – Darren Richardson. Mr.

Richardson signed for MCIA as one of its Directors and for the Debtors as the Debtor’s President

and CEO. No evidence has been submitted that would show not only that Mr. Richardson was

authorized to sign the 2015 Sourcing Agreement and bind MCIA to it, but more importantly that

he had the legal authority to sign on behalf both the Debtor and MCIA.

              53.     Why would MCIA agree to be bound to an agreement that violated its tax

obligation under Hong Kong tax law? Similarly, why would MCIA agree to an HKD$60m gross

loss or how could agreeing to a tax violation constitute an arm’s length agreement?

              54.     Indeed, even if Mr. Richardson did have authority to sign on behalf of both

entities, because the 2015 Sourcing Agreement violated Hong Kong tax law, as set forth above,

such agreement should be considered invalid. See, e.g., Asdourian v. Araj, 38 Cal.3d at 291.

              55.     Moreover, because the transfer pricing adjustments contemplated in the

2015 Sourcing Agreement would ultimately cause great operating losses to MCIA, authorization

from MCIA’s board would be required prior to implementation of same. A review of MCIA’s

books and records, however, did not evidence any such authorization.

E.     The Timing of Entry into the
       2015 Sourcing Agreement is Suspect

              56.     As noted above, on June 25, 2105, the Debtor filed its 10-K with the

Securities and Exchange Commission for the period of April 1, 2014 through March 31, 2015.


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               57.    It is telling that the 2015 Sourcing Agreement was entered into

approximately six months after the filing of the 10-K, particularly since the 2015 Sourcing

Agreement was made effective April 1, 2014 – 18 months before the signing of such agreement.

               58.    Indeed, a valid question exists as to why the Debtor waited 9 months after

the issuance of the KPMG Report and 6 months after the filing of the 10-K to execute the 2015

Sourcing Agreement – particularly since the Debtor was seeking to have the agreement’s effective

date be 18 months before the actual signing of the 2015 Sourcing Agreement.

                                        CONCLUSION

               59.    Given that the 2015 Sourcing Agreement is invalid, MCIA’s Proof of Claim

was based on the proper calculation of the amount owed by the Debtor to MCIA since the

Liquidators correctly followed the valid 2008 Sourcing Agreement. Accordingly, the Liquidators

of MCIA respectfully request that the Court overrule the Trustee’s Objection and allow MCIA’s

Claim in its entirety and grant such other and further relief as the Court may deem proper.

Dated: September 2, 2020                     SULLIVAN · HAZELTINE · ALLANSON LLC
       Wilmington, DE
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